                  Case 25-10308               Doc 435-3           Filed 05/09/25             Page 1 of 1



    Diamond Select Toys & Collectibles, LLC                                                       Case No. 25-10312
    Balance Sheet                                                                                            Feb-25


                                                                                           Diamond Select Toys &
                                                                                              Collectibles, LLC

    Assets
    Current Assets
      Cash and cash equivalents                                                                                   3,493
      Accounts Receivable, net                                                                                      994
      Inventory                                                                                               2,811,081
      Prepaids & Deposits                                                                                     1,875,000
    Total Current Assets                                                                                     4,690,568

    Other Current Assets                                                                                         21,300
    Total Assets                                                                                              4,711,868

    Liabilities
    Liabilities Not Subject to Compromise
      Accounts Payable                                                                                         216,939
[1]   DIP Financing (Postpetition)                                                                          40,848,045
    Total Liabilities Not Subject to Compromise                                                             41,064,984

    Liabilities Subject to Compromise
      Prepetition Secured Debt                                                                                          -
      Prepetition Priority Debt                                                                                  34,898
      Prepetition Unsecured Debt                                                                              8,120,635
    Total Liabilities Subject to Compromise                                                                  8,155,533
    Total Liabilities                                                                                       49,220,517

    Total Equity                                                                                           (44,508,649)

[1] The Company is a guarantor of obligations under a prepetition credit facility of a related entity that is currently
    undergoing a sale process under Section 363 of the Bankruptcy Code
